INSD Change of Attorney Information (Rev. 1/2022)
            Case 1:14-ml-02570-RLY-TAB Document 22434 Filed 07/27/22 Page 1 of 1 PageID #:
                                             132611
                                               UNITED STATES DISTRICT COURT
                                                              Southern District of Indiana


                                                      NOTICE OF CHANGE OF
                                                     ATTORNEY INFORMATION



     TO: ALL PARTIES



                                                                          )    1:19-cv-01459
                                                                               1:19-cv-00977
                                                                          )    1:19-cv-01460
                                                                          )    1:19-cv-04892
                                  Pending Case No(s).1                    )    1:18-cv-03405
                                                                          )    1:19-cv-02154
                                                                          )    1:19-cv-00983
                                                                               1:19-cv-04806
                                                                          )    1:19-cv-00979
                                                                               1:19-cv-03052

     Pursuant to Local Rule 5-3, the undersigned counsel notifies all parties of the following changes:

                                                    Previous Information:                                            Current Information:

                        Name: C. Moze Cowper                                                         C. Moze Cowper

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                    7/22/2022
              Date: ________________                                                                C. Moze Cowper
                                                                                                 s/ ______________________________


     1
         Identify each case in which you have filed a Notice of Appearance and the case is still pending. This Notice must be filed in each pending case.
